 1l'18124,12:17 PM            2:23-cv-00108-gwc-kjd                        Document 34-3    FiledTrespass
                                                                                     23WS00'1726:  03/30/24                                    EXHIBIT A-1
                                                                                                                                     Page 1 of 10


  lnitial Gall lnformation - firespass] 04112123 08:39: 27 WAllen St, Winooski, W                                                       lnc ldaht N um ber : 23WSO01 7 26
                                                                                                                                        Ca fime: 20234L12 0E:39:01 -0100
                                                                                                                                        Ca fypo: lrosp.ss
                                                                                                                                       Primary Ofc,:921: Ch.*alis, J.mes
                                                                                                                                        Owner.: 1321: Schmoll, Michaal
  Call Trpe                    Ca Ptiotity           Call Origitt    Dae &. fiae ofColl       Loca,ioa ofco
                                                                         0412/202108.19        27 W Allen S!, Winooski, VT, 05404



                    Team
                    DAYSHIFT                     23WS00l?26
                                                                           a n"a coa         A Conccllct! cy lo,rn". 13r4, S.^hmoll-
                                                                                             Coiploinant                                       Conr ol Call llpe
                                                                                                                 Mi.h*tl
                                                                                                                                               Trcapass-90J



  Drugs lndv..l                                                                                          .                    Ahm Nu,nb?t lncid.ntflags
  No DruS/Alcohol
                                         l) opiou                O Menrat            J DOMV              a) Cargo rhclt
                                                                 Eedth
  Involved

 Witness List
  Person T!p.                                                               DOB
  Callcr                       City of Mnooski                                            802-655-64t0
                      A,rs.
                              Addr.ss
                               27 W Allen St, wirx)oski, VT, 05404

  P.rsod Type                                                               DOB
  Person of                    Cravel. Enc Michael

                              Ad.lr.st
                               l3? Pinc St Winooski, vT, 05404


  olicet non.                                Dispotched
  924: Charknlis. J.,nes
                                 o           Mt12/23 O8.39:O7
                                                                                                                           Cleered
                                                                                                                           04/12/23 08:48:21


  Ofricer rrame                                                                                                            Cleoftd
  910: Huizenga, Justin
                                 D           0.{/12/2108:39:ll                                                             Ull2l23 OA:48:23

  Ofrcet name                                Dispatched
  904Ar Hebert Rict
                                 o           0/]12/23 08:39:17
                                                                                                                           Clea.ed
                                                                                                                           M/12t23 0814826




https://valcourcloud-vt.convrms/incidents/3o93960/edit
                                                                                                                                                                            1n
111a124.12:17 PM         2:23-cv-00108-gwc-kjd                  Document 34-3    Filed
                                                                         23WS001726r     03/30/24
                                                                                     Irespass       Page 2 of 10
Disp.tch Nanaliees

            1324: Schmoll. Michacl - 04/12123 O8t5l
Trespass has Lreen issued for all City of Winooski properties and is attached


            1324: Schmoll. Michael - 04/12123 08:50     -------
Received a call from the clerks office that Eric is iD the parking lot Setting out ofhis auck


]ITRI#               r\,clc.\7c#
                                                            D




httpsr/valcourcloud-!4.com/rms/incidents/3093960/edit                                                              2t7
th$l24.12:17 PM           2:23-cv-00108-gwc-kjd           Document 34-3     Filed
                                                                    23WS001726:    03/30/24
                                                                                Trespass      Page 3 of 10




https://valcourcloud-!,t.com/rms/incidents/3093960/edit
                                                                                                             3t7
1118124.12:17 PM        2:23-cv-00108-gwc-kjd                            Document 34-3     Filed
                                                                                   23wS001726:    03/30/24
                                                                                               Trespass                                       Page 4 of 10

 lncident Detail - : 924: Charkalis, James                                                                                                           lncident Number : 23ws00 1 7 26
                                                                                                                                                 Ca ftme: 2023-0+12 08:39:01 -0100
                                                                                                                                                 Ca Type: Trespass
                                                                                                                                                 Prlmery Ofc.:921: Chatkalls, James
                                                                                                                                                 Owoer.: 1321: Schmoll, Michael
                              Occufie,l To                  Inv.sl/tuinery Otr er
 04/12,2023 08:39             0,4-t12t2023 OE 39            924iCharkalis. JaDes

                              Dcscription
                              All City of Winooski Propen   I   r.l l: l0:r lr{:01          ll:.1 s.hrn l. \l( hJ.l              Tl                      all.rrv of winmski
                                                                                                                                 C o nrtd e          t   D!4P94&!-:sIeYsLrCJ
                                                                                                                                              "tia
                              D.sctip,iol                   Uptoadcd at
 Olhcr                        Completed vidco Rcquesl       0.1 ll :o:.1 lo::,r             Ir:i l'rt.orr,l..shrnD               D                       Sa!c ro Iolderool Ud1'



                                                                                                                                                                                  SfL Con,act
    tl              I I etconot        A ctt crl        a u"ai"a               t. ) naio         Llacr                U c,i,,t          D                        Asru
     TRO/FRO                           &irrr            Ralease                Recordings                             Syil               S,'ahbinss
    f,xirrs

    L) na"o         A Phoro,           D pr,ro          D                      Zcnhing axc                            I nirmao          O ot*u                   O c,in,             O Lp,
    Reco lings       Ta*e,t            Lifrcd           Diagrufis              Eeidence                               Worning                                    Scene               Used


 Evid. Search Condt c,.d Phfsical B'idcnce                                           Media./Pr?ss Sunnory                                                             secoiddry coll Op.




httpsr/valcourcloud-vl.com/rms/incidenls/3093960/edit
                                                                                                                                                                                                4t7
 1l'18124,12:17 PM      2:23-cv-00108-gwc-kjd                Document 34-3    Filed
                                                                       23WSo01726:    03/30/24
                                                                                   Trespass              Page 5 of 10
                                                              Of.nse Ca!     Otcnse Sabcat NIBRS no   Type    Cotn s *Prunises


                     IBR Sc.ne/Loc 7!p IBRCi Ac, Trp          lBRGMgAfil lgR Agg.Aslt/Ho,i. IBR W.epon Type   NIRRS Ove ide
       OIEntry       ForcdNo Force Poirrt ofEir          CornpasCode tus,ifiable Honicide                          Signilicont Event




https://valcourcloud-vl.com/rms/incidents/309396o/edit
                                                                                                                                       5t7
1118124,12117 PM        2:23-cv-00108-gwc-kjd Document 34-3     Filed
                                                        23WS001726:    03/30/24
                                                                    Trespass                                        Page 6 of 10
 N.nenve Typc       ofi"n            Nerrati,e lenplole
 Supplement         903: Bova. S:       rl
 Narrative

 4/12123, Gravel trespassed from all city properties. Vermonl VIC sent a situational awareness requesl for distribution regarding Gravels behavior etc
 Chittentel Group also made aware this day. Nothing further




https J/valcourcloud-vt.convrms/incidents/309396o/edit
                                                                                                                                                         6n
111PJ/24,12:17 PM         2:23-cv-00108-gwc-kjd                      Document 34-3     Filed
                                                                               23WS001726:    03/30/24
                                                                                           Trespass                                Page 7 of 10
 Narro,it'c Type     onicer                     Narrutive Tenplate
 Rcport               92.1: Charkalis O
                                          Cotfidential
 Narrative

 On April 12, 2023. ar approximately 0839 hours, I served Eric Gravel                ) a rrespass notice which prohibited him from enlering onto any city
 owned property for one year. Gravel refused servic€, however. he was verbally notified which was recorded on Axoo. GEvel was told that ifhe retumed to
 any ofthe properties listed on the tespass notice he would be arrested.


 Gmvel has been creating disturba[ces at the Winooski Police Department aDd Winooski Ciry Hall for several days. Gravel's presence has caused fear
 among city employees and be has made threats to ollicers.


 Gravel left the parking lot of City Hall and no further action was laken.

 Case closed.
 Ofense Suspect      Of.nsc Wtin          IBR Lctid4fredcr                                     B ia slM o ai t o rio   i (o nli)
 L t'os LEO           ll was LEO Assignricnt                                 Orhet ORI         LEOI(A Narrutiyc




https://valcourcloud-\,,t.com/rms/incidents/309396o/edit                                                                                                    7t7
2:23-cv-00108-gwc-kjd             Document 34-3
                                      WINOOShIFiled 03/30/24
                                                 POLICE
                                                                                         Page 8 of 10
   Case/lrrc,                                .l.i \\'t'sl Al['rr Stl cet
                                             \\ intxrslr. \'1 0s40-l
  Of    ficer          Batlse p          WARNING NOTICN
       CA"rr<.it,: 5lY
  Defendant s Last                                      I'r r. t                                    MI
                6csu=t                                             6rr.
  Address              -
          13? pln" !tr..-t                                                              Phonc

  Citr                     Statr                                                   Zio
       Ui a".,sr-:         vf                                                     oSYo.l
  D                                POB                             (I} F- SS$
  ll                                 Eves                                               Race

  Aliases

  School/Educarional Institutc/Employcr



                             l\toToR vuHtCLH tNF'()RltATtoN
   l)L#                                                Statc

   R"g.                 S tatc        Year             l\1alc                    Itlodel

   C{b-           Style//Typc



                                          VIOI,ATION
   I   ) tc         Iinrt-               Lt,'."ation

   f)escri be Viol at ionfr-l



                Tcc.rf qss

  Ord #         T VSA

                                 TR ES PASS NOTI FICAT|On-
 ('hcck One:


 .E  ffi1l$ r lS Tf ,{.,,- fl 'ffi i til": I::re'\ rse,
                         _""                                             3
                                                                                    s           e


 Y.u are herebr norified. pirnuanr r. Title ri v.s.A .1705 (a)( r ). n()r ro entcr rhr'
 plopcny or the place locared ar (and locari.ns lisled on reversc if chccked abovet:

 ,'                                                                          -Ela.{
 Trespars Noricc Rcquesred        bt CLi.\ 't(:.E ll.l-\                                   tr.^.
 You arc lunher adrised that a'i.lati.rr ol rhis noticc ,,, priirhabl" b) a                 tcJrrl-
 imprisorlgrcnt or a finc. or borh. pursuanr ro Tl:l VSA -1i05.
 l.              Gcagz t
 ackno*ledge
   ---Eric   rtit noii".[r*t t[tpui,i ,,na;,t.,.r,""d ,r
                                                                             -
 Defendant Signarure_-$f Lir<-{ o,. A),.r,..                              Date  9/ll/2t
                      /-->
 Olficer Signature_                                                          oue LllttDS
 2:23-cv-00108-gwc-kjd               Document 34-3              Filed 03/30/24        Page 9 of 10

Ticket / Reference #:



   CI                ll   - lr \rrrt Alk^ si tzir.rltg VT
  \^, '.r, o ,r       r, l.                          ') tuco t Atr                   \.r i^rrxl vt

   S.^r- Lort=f - if 3                                                     t^, )^.r 15 L--

   fultr. !r.r'6) - loo                             G. lV. rr. Lr i-orou

 L                   Cc                     C.r..      . 3 ) helrrtt 13.- A.r.
  t-r .-, , rr-' .    ..i -
  \ro-..re Jv.        . t).P \. -
                      1:..4                          l)-      nn..S        S |c..-   t
       \.r i.... sr: w (

    L        oJ )r.       t, ..Lr 0rlt. -)So                           t-, c.r F 4lt<.,.

     ) L^rr,f, Lr i.c,rs                     w[


 Reason for                   Race Data                    Age              Action
 Contact                      il Asian or                  :10 - l0         l'l K-9 Seanch
                                Pacific Islander
 i Agency'Assist                                           at I t-20        J Consent MV
 l BOLO                       f, Black                     :'t I-40         1l Driver Search
 !l Crinr Violation           il Native American           14r-lm           l1 Passenger Search
 J IVIV Violation             {l White                                      lll Exigent Search
                              O Hispanic                   '1 !\'l :1 tl


 shifr                Outcome                        Passerger Locations Searched
 ''l Days             J Arrcst                       3 Trk Bed Passenger J Perlestrian
 11 Evenings          J Citation Issued              i Camper Passenger l'l Rcar Center
 .! Midnights         i'! Unfounded TS               l'l Frt Ctr Passenger 'l Rear l-eft
 ..1 Sning            f, VCVC Issued                 I Fn Lti Passenger iI Rear Right
                      il Verbal Waming               fl Misc. Passenger L,rrcation
                      il Written Waming              I Frt Passenger
         2:23-cv-00108-gwc-kjd      Document 34-3        Filed 03/30/24   Page 10 of 10



                     w   inooeki Police                tmen t Video Reguea t Form


         fncident #:                      3         ool? e
         Nature of Incident:
              DUI           DLS            Asaaul.t / Dieorderly            Theft
                                                    Traffic Stop

                 ?ranaport               fnterview             Other:

     officer: 7a 2/o, PT                                                        Cory f,fr.X
     Date of fncident:            'lla/tt
     Time of Incident:            obl g itr'
     Date of Requeat ;
                              '11 \ 1",
     Defendant, a Name :
     ltultiple Videos (hrithin rooma of building):
                                                                        vES /        no
     video Needed:
,.1{ Y-          }xon: 1)r z -----i-
                                it.            ,4.1
                                                               -
Nl
v    _           Be Mmbers. _       ,
                                                          _/
                 procceeing Roon:
                D-Cell: _                      -/
                                     /
                Tranaport to cccc / Nt{scF
                                                        / act t / Reeidence / Irvw(c
                Photographg
                Telephone Cal.lE (Line, Tine,
                                                          etc.)
                Other:
